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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DIVISION
UNITED sTATEs oF AMERICA )
)
Plainu'ff, )
)
vs ) CR. No. 04-20448-03-3/
) 05-20165-01_B
KENNETH CRENSHAW )
)
Defendant. )
0R1)ER To SURRENDER

 

The defendant, Kenneth Crenshaw, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
(P.O, Box 7000) 1400 Dale Bumpers Road, Forrest City, AR 72335

by 2:00 p.m. on FRIDAY, SEPTEMBER 30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerl<, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

  

ENTERED this the Qj_ day ar Augusr, 2005.

 

 

J. DANIEL BREEN \
ITED sTATEs DISTRICT .IUDGE

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\nth Rule 55 and/or 32(b‘MFF1CrP on

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

ISTRICT COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 109 in
case 2:04-CR-20448 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Lee HoWard Gerald

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Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

